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Mark S. Cohen
Christian R. Everdell
+1 (212) 957-7600
mcohen@cohengresser.com
ceverdell@cohengresser.com



                                                           November 30, 2020

TO BE FILED UNDER SEAL

VIA EMAIL (SUBMITTED PURSUANT TO SECTION 2(B)
OF JUDGE NATHAN’S INDIVIDUAL PRACTICES IN CRIMINAL CASES)

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        On behalf of our client, Ghislaine Maxwell, we respectfully submit this letter in response
to the Court’s order, dated November 25, 2020, directing Ms. Maxwell to justify why her letter
of the same date requesting an in camera conference to discuss confidentiality concerns related
to her Renewed Motion for Release on Bail (the “Motion”) should be sealed or redacted.

        We continue to believe that sealing the November 25, 2020 letter (the “November 25th
Letter”) in its entirety is warranted and appropriate under the governing case law. However, in
response to the Court’s order, we ask the Court to file a redacted version of the November 25th
Letter, attached hereto as Exhibit A, which redacts only the information necessary to protect
third parties from threats and harassment. In addition, because this letter must make reference to
the same confidential information contained in the November 25th Letter in order to justify the
proposed redactions, we further ask the Court to file a redacted version of this letter, attached as
Exhibit B. If the Court is not inclined to allow any of these redactions, we request leave to
withdraw both letters and refile the November 25th Letter with the redacted sentences deleted.

        Every submission related to the Motion, including this letter, presents the defense with a
Catch-22. To support Ms. Maxwell’s position regarding sealing and confidentiality, we are
asked to provide the Court with specific information about the people supporting Ms. Maxwell’s
bail application and the need for sealing. But until we know what confidentiality protections the
Court is willing to put in place, we are obligated to protect these people from the potentially
devastating consequences of being publicly identified by divulging as little information about
them as possible. We therefore continue to believe that an in camera conference, attended by all
counsel, is the best way to address all of the confidentiality issues related to the Motion.
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         With regard to the November 25th Letter, Ms. Maxwell requests redaction of three
  sentences. The first sentence must be redacted because it contains information that will identify
  a proposed co-signer. The government, itself, concedes that such information should be
  redacted. (See November 25th Letter at 3). The reference in this sentence to




                                                                      Even assuming, arguendo, that
  there is some minimal public interest in knowing the identity of a particular surety, it is vastly
  outweighed by the significant privacy concerns in this case. See United States v. Amodeo, 71
  F.3d 1044, 1050-51 (2d Cir. 1995) (“[t]he privacy interests of innocent third parties … should
  weigh heavily in a court’s balancing equation…. [C]ourts have the power to insure that their
  records are not used to gratify private spite or promote public scandal[.]”). 1

          Similarly, redaction of the second and third sentences, like the first, is necessary to
  protect the privacy and safety of people who have suffered, or legitimately fear they will suffer,
  terrible personal and professional consequences for having been linked to Ms. Maxwell. People
  close to Ms. Maxwell have been physically stalked by members of the tabloid press and have had
  paparazzi jump out of bushes and in front of their cars to snap pictures of them.

                                And several have been the target of repeated physical threats. Many
  of the people who want to support Ms. Maxwell’s renewed bail application are older and do not
  have the financial means to hire a personal security detail to protect themselves. Nor should they
  have to. They are all people of good character who are simply trying to support Ms. Maxwell’s
  constitutional right to seek release on bail. They should be given appropriate protections so that
  they can step forward without having their lives upended or, worse, destroyed. 2

          The November 25th Letter, as submitted, intentionally avoided naming these individuals
  for this very reason. But removing or redacting their names, as the government proposes, is not
  enough. This case has generated so much media attention and public opprobrium that public
  1




  2
    Given the sensitive subject matter of this case, the sureties have legitimate fears for their safety if they are publicly
  identified. Numerous social media posts have advocated killing Ms. Maxwell as a perverse form of “justice” for her
  alleged role in Epstein’s sex trafficking crimes. As we have all been recently reminded with the tragic case of the
  death of Judge Esther Salas’s son, there are people who are capable of committing horrible acts of violence—even
  against innocent third parties—by convincing themselves that their actions are justified.
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  disclosure of even the smallest personal detail about anyone connected to Ms. Maxwell—
  whether or not they are named or anonymized—will ignite a frenzy of media speculation seeking
  to identify them. To name just one example,



                               We have every reason to expect that the same will occur with
  anyone even obliquely mentioned in connection with the Motion.

         Accordingly, the reference in the second sentence to


                                                    Similarly, the reference in the third sentence to




          We do not make this request for redaction lightly. We are acutely mindful that courts are
  generally reluctant to seal anything in a court filing beyond what is required by statute or local
  court rules. We are therefore proposing targeted redactions, consistent with the case law in this
  Circuit, that are no more extensive than necessary to protect these third parties. See Lugosch v.
  Pyramid Co. of Onandaga, 435 F.3d 110, 124 (2d Cir. 2006); see also Unites States v. Wey, 256
  F. Supp. 3d 355, 411 (S.D.N.Y. 2017) (Nathan, J.) (granting motion to seal evidentiary exhibits
  on privacy grounds). Ultimately, we seek the same privacy protections for these people that the
  government has sought and obtained for Ms. Maxwell’s accusers and for other information
  covered by the Protective Order in this case.

          By making this request for redaction, we are not trying to litigate this case in secret. We
  are merely seeking the ability to file a renewed bail application for Ms. Maxwell without further
  risking the safety and privacy of sureties needed to support that application. This is the first of
  several confidentiality issues that will arise in connection with the Motion, and the sureties will
  be looking at the Court’s ruling as an indication of the level of confidentiality they can expect to
  be afforded. These individuals have requested that their privacy and safety be appropriately
  protected by the Court.

           For the reasons set forth above, we respectfully request that the Court file the proposed
  redacted version of the November 25th Letter, attached as Exhibit A, and the proposed redacted
  version of this letter, attached as Exhibit B. In the alternative, we request leave to withdraw both
  letters and refile the November 25th Letter with the redacted sentences deleted.
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                                                Respectfully submitted,

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                                               Mark S. Cohen
                                               Christian R. Everdell
                                               COHEN & GRESSER LLP
                                               800 Third Avenue, 21st Floor
                                               New York, New York I 0022
                                               (212) 957-7600


  cc:   All counsel of record (via email)
